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AO 245B (CASDRev. 02/18) Judgment in a Criminal Case


                                       UNITED STATES DISTRICT COURT                                                       ---------
                                                                                                                       C!.L-f}1..;, tJ'.; [11Sli·--11Cl COURT
                                                                                                                 SOUHiLH1' U1S I HIC I Dr CALIFORNIA
                                            SOUTHERN DISTRICT OF CALIFORNIA                                      BY                     .       '       DEPUTY

              UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                  v.                                        (For Offenses Committed On or After November l, 1987)
            SAMANTHA FLORES RAMOS (1)
                                                                               Case Number:         l 7CR2023-BEN

                                                                            FD BY JAMES MICHAEL CHAVEZ
                                                                            Defendant's Att01ney
REGISTRATION NO.                  62508298
D -
THE DEFENDANT:
00   pleaded guilty to count(s)          1 OF THE INFORMATION.

Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                    Count
Title & Section                     Nature of Offense                                                                              Number(s)
21 USC 952, 960                     IMPORTATION OF METHAMPHETAMINE                                                                          1




    The defendant is sentenced as provided in pages 2 through                          4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

D    The defendant has been found not guilty on count(s)

D    Count(s)                                                                     dismissed on the motion of the United States.

      Assessment: $100.00 forthwith or through the Inmate Financial Responsibility Program (IFRP) at the rate ofnot less than
      $25.00 per quarter during the period of incarceration.

      JVTA Assessment*: $
D
      *Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
oo    No fine                  o       Forfeiture pursuant to order filed                                                  , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                                                                                 17CR2023-BEN
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 THIRTY-SIX (36) MONTHS.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 00    The court makes the following recommendations to the Bureau of Prisons:
       DEFENDANT BE INCARCERATED WITHIN THE WESTERN REGION OF THE UNITED STATES.




 o     The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:

       D     at                             A.M.              on

       D     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:

       D     on or before

       D     as notified by the United States Marshal.

       D     as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

       Defendant delivered on

 at   ~~~~~~~~~~~
                                          , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL

                                                                                                       17CR2023-BEN
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                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS.


     The defendant shall report to the probation office in the district to which the defundant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
D
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
D         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
D         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                            STANDARD CONDITIONS OF SUPERVISION
     I)     the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)     the defendant shall report to the probation officer in a 1nanner and frequency directed by the court or probation officer;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and 1neet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
            re'asons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any contro1led substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)  the defendant shall not associate with any persons engaged in climinal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit hhn or her at any time at home or elsewhere and shalI permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an infonner or a special agent ofa law enforcement agency without the pennission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall permit the probation officer to make such notifications and to confinn the defendant's compliance
            with such notification requirement.


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                                            SPECIAL CONDITIONS OF SUPERVISION

                1. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.


                2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


                3. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
                     Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
                   · contraband or evidence ofa violation ofa condition ofrelease; failure to submit to a search may be grounds
                     for revocation; the defendant shall warn any other residents that the premises may be subject to searches
                     pursuant to this condition.



       II




                                                                                                              17CR2023-BEN
